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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
 JOAQUIN CAPEHART,                                                        Case No. 1:23-cv-08673
                                        Plaintiff,
                                                                    MOTION FOR DEFAULT JUDGMENT
                         v.

 ASTORIA PROVISIONS, LLC
 and CORNER BUILDING CORP.,

                                         Defendants.
 -------------------------------------------------------------X


        Plaintiff, Joaquin Capehart, by his attorney, Nacmias law Firm, PLLC, hereby move the
Court pursuant to Federal Rule of Civil Procedures 55(b) and Local Civil Rule 55.1 to enter default
in favor of Plaintiff and against Defendants ASTORIA PROVISIONS, LLC and CORNER
BUILDING CORP. on the grounds that said Defendant failed to answer or otherwise respond to
the Complaint.



Dated: Brooklyn, NY
       July 10, 2024



                                                             Respectfully submitted,

                                                             Nacmias Law Firm, PLLC
                                                             Attorney for Plaintiff
                                                             592 Pacific Street, 1st Floor
                                                             Brooklyn, New York 11217
                                                             (917) 602-6057

                                                             By: /s/ Andre Autz, Esq.
                                                             Andre Autz, Esq. (5802095)
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
 JOAQUIN CAPEHART,                                                   Case No. 1:23-cv-08673
                                        Plaintiffs,
                                                                  AFFIRMATION IN SUPPORT OF
                         v.                                          DEFAULT JUDGMENT


 ASTORIA PROVISIONS, LLC
 and CORNER BUILDING CORP.,

                                         Defendant.
 -------------------------------------------------------------X

        Andre Autz, an attorney fully admitted to the Eastern District of New York, hereby declares
as follows:
        1.       I am the attorney for Plaintiff Joaquin Capehart (“Plaintiff”) in the above-captioned
    action. I submit this affidavit pursuant to Rule 55(b)(2) of the Civil Rules for the Eastern
    District of New York, in support of Plaintiff’s application for entry of default judgment against
    Defendants Astoria Provisions, LLC and Corner Building Corp. (“Defendants”).
                                                ARGUMENT

        2.       Rule 55 of the Federal Rules of Civil Procedure establishes a two-step process for
    a plaintiff to obtain a default judgment. See Shariff v. Beach 90th Street Realty Corp., 2013
    U.S. Dist. LEXIS 179255, 2013 WL 6835157, at (E.D.N.Y. Dec. 20, 2013). First, "[w]hen a
    party against whom a judgment for affirmative relief is sought has failed to plead or otherwise
    defend, and that failure is shown by affidavit or otherwise, the clerk must enter the party's
    default." Fed. R. Civ. P. 55(a). Second, once a default has been entered against a defendant,
    and the defendant fails to appear or move to set aside the default under Rule 55(c), the court
    may, on a plaintiff's motion, enter a default judgment against that particular defendant. Fed. R.
    Civ. P. 55(b)(2). On a motion for default judgment, a defendant is deemed to have admitted all
    of the well-pleaded allegations in the complaint pertaining to liability. See Greyhound
    Exhibitgroup, Inc. v. E.L.U.L. Realty Corp., 973 F.2d 155, 158 (2d Cir. 1992); Allstate Ins.
    Co. v. Mirvis, 2015 U.S. Dist. LEXIS 44669, 2015 WL 1539671 (E.D.N.Y. Mar. 31, 2015). In
    accordance with Rules 55 (b)(2), Plaintiff is entitled to final judgment after default against
    Defendants.
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       3.       This is an action for declaratory and injunctive relief, as well as damages, pursuant
   to 1) Title III of the Americans with Disabilities Act, 42 U.S.C. 12181, et Seq., (“ADA”) 2)
   New York State Human Rights Law pursuant to N.Y. Exec. Law Article 15 (“NYSHRL”), 3)
   New York State Civil Rights Law, NY CLS Civ R, Article 4 (CLS Civ R §40 et seq.) (the
   "NYCRL") 4) New York Human Rights Law, N.Y.C. Administrative Code §8-102, et seq.
       4.       Jurisdiction of the subject matter of this action is based on 28 U.S.S. § 1331 and 42
   U.S.C. § 1288, for Plaintiff’s claims arising under the ADA, and 28 U.S.C. § 1367 over
   Plaintiff’s claims under NYSHRL, NYCRL, and Administrative Code § 8-102.
       5.       This Court has personal jurisdiction over Defendants and, Defendants are a
   corporation and not infants or incompetents.
       6.       Defendants are not in the military service of the United States.
       7.       This action was commenced against Defendants on November 22, 2023 with the
   filing of a Summons and Complaint (Exhibit A).
       8.       The Summons and Complaint were served on the Defendants on December 11, 2023,
   by service upon an authorized agent at the Office of the Secretary of State of the State of New York
   (Exhibit B)
       9.       Defendants’ time to answer or otherwise respond to the complaint expired on January
   1, 2024.
       10.      Defendants have not answered or otherwise moved with respect to the complaint,
   and the time for Defendants to answer or otherwise move has not been extended.
       11.      A Clerk’s Certificate of Default was entered on May 17, 2024 (Exhibit C).
                                     INJUNCTIVE RELIEF

   12. Defendant is indebted to Plaintiff in that:
             a. Defendants have violated the ADA, NYSHRL, NYCRL, and Administrative Code
                § 8-102 by maintaining its restaurant, Astoria Provisions (the “Premises”), in such
                a way that it contains numerous access barriers preventing Plaintiff, and other
                physically disabled individuals, from gaining equal access to the Premises, and by
                refusing to renovate or remove access barriers to its Premises, thus causing its
                Premises to be completely inaccessible to the physically disabled. This
                inaccessibility denies physically disabled patrons full and equal access to the
                services that Defendants makes available to the non-disabled public through their
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               Premises.
            b. Defendants generates revenue from the sale of its products and services, privileges,
               advantages, and accommodations through its Premises. The Premises offers a
               service, privilege, advantage, and “public accommodation” provided by
               Defendants that is inaccessible to patrons who are physically disabled.
            c. Defendants’ actions constitute intentional discrimination against Plaintiff on the
               basis of disability in that Defendants have constructed and maintained its Premises
               that is inaccessible to Plaintiff; denies physically disabled customers, like Plaintiff,
               the services, privileges, advantages, and accommodations provided by the
               Premises; knowingly maintains the Premises in inaccessible form; and has refused
               to take adequate actions to correct these barriers even after being notified of the
               discrimination that such barriers cause. These violations are ongoing.
   13. This action seeks declaratory and injunctive relief as follows:
            a. That Defendants violated Plaintiff’s rights under the ADA, NYSHRL, NYCRL,
               and Administrative Code § 8-102;
            b. For a preliminary and permanent injunction requiring Defendant to bring the
               Premises into compliance and make the same readily accessible to, and usable by,
               physically disabled individuals;
            c. For a preliminary and permanent injunction requiring Defendants to shut down their
               Premises and not permit them to be open to the public until the Defendants brings
               the Premises into compliance and make the same readily accessible to, and usable
               by, physically disabled individuals;
            d. For such other and further relief as the Court deems just and proper.
      14.      Irreparable harm will befall Plaintiff if injunctive relief is not granted as Plaintiff
   will be unable to enjoy full and equal enjoyment of the goods, services, and accommodations
   offered by Defendants as a direct result of Defendants’ violations of the ADA, NYSHRL,
   NYCRL, and Administrative Code § 8-102.
      15.      Moreover, Plaintiff has no adequate remedy at law. Granting an injunction will
   serve the public interest by protecting the civil rights of individuals with disabilities. Given
   Defendants failure to file a responsive pleading in this action and its failure to retain counsel,
   there is a substantial likelihood of success in attaining an injunction.
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       16.     Failure to grant an injunction will result in Plaintiff’s continued exposure to harm
   with no method of recourse.
                                                DAMAGES

       17.     Plaintiff is entitled to compensatory damages, including statutory damages, and all
   other relief allowed by law.
       18.     In calculating compensatory damages under the NYSHRL and the NYCHRL, a
   court in the Southern District of New York found that "[t]he New York City Human Rights
   Commission has deemed awards of $1,000 to be sufficient in cases where complainants did
   not establish any particular damage 'other than what a decent and reasonable individual would
   suffer when faced with such ignorant behavior.'" Kreisler, 2012 U.S. Dist. LEXIS 129298,
   2012 WL 3961304, (weighing the appropriate compensatory damages amount for the
   defendant's failure to provide a reasonably accessible restaurant). Shalto v. Bay of Bengal
   Kabob Corp., 2013 U.S. Dist. LEXIS 33277
       19.     This Court has competent jurisdiction and the authority to order the Defendants to
   pay Plaintiff the $1,000 in compensatory damages contemplated by NYSHRL and the
   NYCHRL for the disability discrimination Plaintiff has suffered, and respectfully recommends
   that the District Court order that relief.
       20.     Therefore, a Judgment in favor of Plaintiff for the amount of $1,000.00 would be
   proper. A proposed judgment is attached as Exhibit D.
                                  NO NEED FOR AN INQUEST

       21.     Although a plaintiff seeking to recover damages against a defaulting defendant
   must prove its claim through the submission of admissible evidence, see Smith ex rel. Smith
   v. Islamic Emirate of Afghanistan, 262 F. Supp. 2d 217, 224 (S.D.N.Y. 2003), a hearing is
   unnecessary so long as (1) the Court has determined the proper rule for calculating damages,
   see Credit Lyonnais Sec. (USA), Inc. v. Alcantara, 183 F.3d 151, 155 (2d Cir. 1999), and (2)
   the plaintiff’s evidence establishes, with reasonable certainty, the basis for the damages
   specified in the default judgment, see Transatlantic Case 1:13-cv-02287-RMB-FM Document
   59 Filed 12/28/15 Page 5 of 10 Marine Claims Agency Inc. v. Ace Shipping Corp., 109 F.3d
   105, 111 (2d Cir. 1997). Here, because the requirements have been met, there is no need for a
   hearing.
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WHEREFORE, Plaintiff respectfully requests entry of default and the entry of the attachment
judgment against Defendant.

                                                 Respectfully submitted,




                                                 Andre Autz, Esq.
